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                       IN THE UNITED STATES DISTRICT COURT                        APR "T 201               zJ
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                      Alexandria Division                      CliRK.U-S. DISTRIC1 CUUKi
                                                                                  ALf^fiNORIA. VIRGINIA


[UNDER SEAL],

       Plaintiff,
                                                            Civil Action No. I                    I
V.                                                          Filed In Camera and Under Seal
                                                            as Required by 31 U.S.C.§
[UNDER SEAL],                                               3730(b)(2) and Virginia Code§
                                                            8.01-216.5
       Defendant.




                         DOCUMENT TO BE KEPT UNDER SEAL
                              (DO NOT PLACE ON PACER)


Richard L. Nagle, Esq.
Travis W. Markley, Esq.
TrialHawk Litigation Group, LLC
11710 Plaza America Drive, Suite 2000
Reston,VA 20190
T: 703.871.5060/F: 703.871.5080
Email: magle@trialhawk.com / tmarkley@trialhawk.com

Attorneys for Plainliff-Relator [Under Seal]
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